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                                                   UNITED STATES DISTRICT COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                  CRIMINAL MINUTES - TRIAL


 Case No.            CR 17-00697 SJO                                                                                           Date        October 19, 2018


 Present: The Honorable             S. James Otero

 Interpreter         Not Required

                                                                                                                                        Christine M. Ro
                                                                                                                                         Ian Yanniello
                Victor Paul Cruz                                      Carol Zurborg                                                       Mark Aveis
                  Deputy Clerk                               Court Reporter/Recorder, Tape No.                                    Assistant U.S. Attorney



                    U.S.A. v. Defendant(s):                       Present     Cust.    Bond                 Attorneys for Defendants:               Present     App.      Ret.

                                                                                                    Craig A. Harbaugh, DFPD
1) Daniel Flint                                                     xx                  xx          George Wakefield, DFPD                              xx       xx



          Day COURT TRIAL                                           4th      Day JURY TRIAL

          The Jury is impaneled and sworn.

          Opening statements made by

          Witnesses called, sworn and testified.

          Exhibits identified                                                Exhibits admitted
          Government rests.                                    Defendant(s)                                                                                           rest.

          Motion for mistrial by                                                         is              granted                  denied                     submitted

          Motion for judgment of acquittal (FRCrP 29)                                   is               granted                  denied                     submitted

          Closing arguments made                                            Court instructs jury                                  Bailiff sworn

          Alternates excused                                                Jury retires to deliberate                     x      Jury resumes deliberations

          Finding by Court as follows:                                                  x         Jury Verdict as follows:

 Dft #                      Guilty on count(s)       1                                            Not Guilty on count(s)
                x

   x      Jury polled                                                       Polling waived

   x      Filed Witness & Exhibit lists                  x       Filed Jury notes             x      Filed Jury Instructions               x    Filed Jury Verdict

   x      Dft #       all     Referred to Probation Office for Investigation & Report and continued to                            2/11/19 @ 9 a.m         for sentencing.

          Dft #               remanded to custody.                 Remand/Release#                           issd.             Dft #           released from custody.

          Bond exonerated as to Dft #

          Case continued to                                                     for further trial/further jury deliberation.

               Jury Note #2. Defendant shall remain on bond under all conditions previously imposed. All trial exhibits shall be maintained in the
 Other:        custody of the AUSA’s office pending any appeal.

                                                                                                                                                    :         0/12

                                                                                                  Initials of Deputy Clerk        vpc



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